                     Case 1:21-sw-00109-GMH Document 1 Filed 04/13/21 Page 1 of 24
AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                            for the
                                                   DistrictDistrict
                                              __________    of Columbia
                                                                    of __________
                    In the Matter of the Search of
                (Briefly describe the property to be searched
                                                           )
                 or identify the person by name and address)
                                                                             )
   A SILVER 2004 CHRYSLER TOWN AND COUNTRY                                   )             Case No. 21-SW-109
BEARING MARYLAND LICENSE PLATE 4EG9203 AND VIN                               )
2C8GP54L84R603669 IN A SECURED PARKING GARAGE                                )
   OF THE DRUG ENFORCEMENT ADMINISTRATION
          WASHINGTON DIVISION OFFICE
    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment A, incorporated herein.

located in the                                    District of                 Columbia                  , there is now concealed (identify the
person or describe the property to be seized):
 See Attachments B, incorporated herein.


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               u
               u contraband, fruits of crime, or other items illegally possessed;
                 u property designed for use, intended for use, or used in committing a crime;
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
        21 U.S.C. §§ 841(a).                      Possession with intent to distribute controlled substances.



          The application is based on these facts:
        See attached affidavit.

           ✔ Continued on the attached sheet.
           u
           u Delayed notice of        days (give exact ending date if more than 30 days:                                    ) is   requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                      Applicant’s signature

                                                                                              John Eliff, Task Force Officer , ATF
                                                                                                      Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                     Telephone                        (specify reliable electronic means).


Date:            04/13/2021
                                                                                                        Judge’s signature

City and state: Washington, D.C.                                                   G. Michael Harvey, United States Magistrate Judge
                                                                                                      Printed name and title
                           Case 1:21-sw-00109-GMH Document 1 Filed 04/13/21 Page 2 of 24
                                                                                       ✔ 2ULJLQDO
                                                                                       u                         u 'XSOLFDWH2ULJLQDO
$2&  :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV



                                            81,7('67$7(6',675,&7&2857
                                                                           IRUWKH
                                                                  District of Columbia
                                                            BBBBBBBBBB'LVWULFWRIBBBBBBBBBB
                   ,QWKH0DWWHURIWKH6HDUFKRI
                    (Briefly describe the property to be searched

  $6,/9(5&+5<6/(572:1$1'&28175<%($5,1*
                                                                                     &DVH1R 21-SW-109
  0$5</$1'/,&(16(3/$7((*$1'9,1
  &*3/5,1$6(&85('3$5.,1**$5$*(2)
  7+('58*(1)25&(0(17$'0,1,675$7,21:$6+,1*721
  ',9,6,212)),&(
                 :$55$17%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
7R      $Q\DXWKRUL]HGODZHQIRUFHPHQWRIILFHU
           $QDSSOLFDWLRQE\DIHGHUDOODZHQIRUFHPHQWRIILFHURUDQDWWRUQH\IRUWKHJRYHUQPHQWUHTXHVWVWKHVHDUFKDQGVHL]XUH
RIWKHIROORZLQJSHUVRQRUSURSHUW\ORFDWHGLQWKH                                  'LVWULFWRI            Columbia
(identify the person or describe the property to be searched and give its location)
  See Attachment A, incorporated herein.




        ,ILQGWKDWWKHDIILGDYLW V RUDQ\UHFRUGHGWHVWLPRQ\HVWDEOLVKSUREDEOHFDXVHWRVHDUFKDQGVHL]HWKHSHUVRQRUSURSHUW\
GHVFULEHGDERYHDQGWKDWVXFKVHDUFKZLOOUHYHDO(identify the person or describe the property to be seized)
  See Attachments B, incorporated herein.




         YOU ARE COMMANDEDWRH[HFXWHWKLVZDUUDQWRQRUEHIRUH                   April 27, 2021        (not to exceed 14 days)
       u LQWKHGD\WLPHDPWRSP ✔
                                                u DWDQ\WLPHLQWKHGD\RUQLJKWEHFDXVHJRRGFDXVHKDVEHHQHVWDEOLVKHG

        8QOHVVGHOD\HGQRWLFHLVDXWKRUL]HGEHORZ\RXPXVWJLYHDFRS\RIWKHZDUUDQWDQGDUHFHLSWIRUWKHSURSHUW\WDNHQWRWKH
SHUVRQIURPZKRPRUIURPZKRVHSUHPLVHVWKHSURSHUW\ZDVWDNHQRUOHDYHWKHFRS\DQGUHFHLSWDWWKHSODFHZKHUHWKH
SURSHUW\ZDVWDNHQ
        7KHRIILFHUH[HFXWLQJWKLVZDUUDQWRUDQRIILFHUSUHVHQWGXULQJWKHH[HFXWLRQRIWKHZDUUDQWPXVWSUHSDUHDQLQYHQWRU\
DVUHTXLUHGE\ODZDQGSURPSWO\UHWXUQWKLVZDUUDQWDQGLQYHQWRU\WR                       G. Michael Harvey                    
                                                                                                    (United States Magistrate Judge)

     u 3XUVXDQWWR86&D E ,ILQGWKDWLPPHGLDWHQRWLILFDWLRQPD\KDYHDQDGYHUVHUHVXOWOLVWHGLQ86&
  H[FHSWIRUGHOD\RIWULDO DQGDXWKRUL]HWKHRIILFHUH[HFXWLQJWKLVZDUUDQWWRGHOD\QRWLFHWRWKHSHUVRQZKRRUZKRVH
SURSHUW\ZLOOEHVHDUFKHGRUVHL]HG(check the appropriate box)
     u IRU         GD\V(not to exceed 30) u XQWLOWKHIDFWVMXVWLI\LQJWKHODWHUVSHFLILFGDWHRI                                       


'DWHDQGWLPHLVVXHG                   04/13/2021
                                                                                                            Judge’s signature

&LW\DQGVWDWH                    Washington, D.C.                                    G. Michael Harvey, United States Magistrate Judge
                                                                                                          Printed name and title
                           Case 1:21-sw-00109-GMH Document 1 Filed 04/13/21 Page 3 of 24
$2&  :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV 3DJH

                                                                              Return
&DVH1R                                 'DWHDQGWLPHZDUUDQWH[HFXWHG                 &RS\RIZDUUDQWDQGLQYHQWRU\OHIWZLWK
 21-SW-109
,QYHQWRU\PDGHLQWKHSUHVHQFHRI

,QYHQWRU\RIWKHSURSHUW\WDNHQDQGQDPH V RIDQ\SHUVRQ V VHL]HG




                                                                          Certification


        ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQYHQWRU\LVFRUUHFWDQGZDVUHWXUQHGDORQJZLWKWKHRULJLQDOZDUUDQWWRWKH
GHVLJQDWHGMXGJH



'DWH
                                                                                                 Executing officer’s signature


                                                                                                    Printed name and title
        Case 1:21-sw-00109-GMH Document 1 Filed 04/13/21 Page 4 of 24




                                    ATTACHMENT A
                                    Property to be Searched
       A silver Chrysler Town and Country Van bearing Maryland license plate 4EG9203

(“Vehicle”). The Vehicle is currently stored in a secured parking garage of the Drug Enforcement

Administration Washington Division Office in Washington, D.C.
        Case 1:21-sw-00109-GMH Document 1 Filed 04/13/21 Page 5 of 24




                                          ATTACHMENT B

                                          Property to be Seized

       All items constituting evidence and/or instrumentalities of violations of 21 U.S.C.

§§ 841(a)(1) and 841(b)(1)(C) (the SUBJECT OFFENSES) including, but not limited to, the

following:

   a. Controlled substances, packaging materials, drug paraphernalia, and items used in the
      sale, transfer, transportation and packaging of illegal narcotics substances, including but
      not limited to scales, butcher paper, plastic wrap, plastic bags, tape, cigarette papers,
      pipes, hypodermic needles and syringes, written articles on the use and effects of narcotics,
      diluents and cutting agents;

   b. Records and documents, receipts, notes, ledgers and other papers including any
      computerized or electronic records including cellular telephones and tablets, containing
      indicia of distribution of controlled substances or relating to the ordering, purchase or
      possession of controlled substances or firearms and evidence of drug proceeds and money
      laundering;

   c. Items used in the manufacture or preparation of controlled substances including but not
      limited to precursor chemicals, chemistry guides, glassware and flasks;

   d. Documents related to ordering, purchasing, storage, transportation and sale of controlled
      substances, including U.S. currency used in the purchase and sale of controlled
      substances, buyer lists, seller lists, pay-owe sheets and records of sales, log books,
      drug ledgers, personal telephone/address books of customers and suppliers, rolodexes,
      telephone answering pads, bank and financial records, records relating to domestic and
      foreign travel such as tickets, passports, visas, credit card receipts, travel schedules,
      receipts and records, trucker log books and storage records, such as storage locker receipts
      and safety deposit box rental records;

   e. Address and/or telephone books and papers reflecting names, addresses and/or
      telephone numbers, which constitute evidence of customers, distributors, conspirators,
      and potential witnesses of the SUBJECT OFFENSES;

   f. Records and information relating to the identity or location of perpetrators, aiders and
      abettors, coconspirators, and accessories after the fact;

   g. Weapons, including but not limited to firearms, ammunition, and items associated with
      ownership of firearms such as magazines, bulletproof vests, gun-cleaning kits, gun-sights,
      holsters, and records and documents, receipts, notes, ledgers and other papers including
      any computerized or electronic records including cellular telephones and tablets, related to
      the ordering purchase, possession or ownership of firearms or firearm paraphernalia;
     Case 1:21-sw-00109-GMH Document 1 Filed 04/13/21 Page 6 of 24




h. United States currency, precious metals, jewelry, financial instruments, and other illicit
   gains from the distribution of controlled substances;

i. Books, records, receipts, bank statements, money drafts, letters of credit, money orders
   and cashier's checks, passbooks, bank checks, safe deposit box keys, and any other items
   evidencing the obtaining, secreting, transfer, concealment, storage and/or expenditure of
   money;

j. Photographs, in particular, photographs of firearms and/or controlled substances and
   photographs of individuals possessing firearms and/or controlled substances and
   photographs showing the association of individuals;

k. Safes, both combination and key type, and their contents, which can contain evidence
   of the commission of the SUBJECT OFFENSES or proceeds from the commission of the
   SUBJECT OFFENSES.

l. Indicia of ownership, including but not limited to, receipts, invoices, bills, and keys.

m. Cellular telephones and other digital devices.

n. For any digital devices, including cellular telephones, searched:

       a. Records and information relating to unlawful distribution of controlled
          substances, possession with intent to distribute controlled substances, or a
          conspiracy to distribute or possess controlled substances.
       b. Evidence of who used, owned, or controlled the Device(s) at the time the things
          described in this warrant were created, edited, or deleted, such as logs, registry
          entries, configuration files, saved usernames and passwords, documents, browsing
          history, user profiles, email, email contacts, chat, instant messaging logs,
          photographs, and correspondence;
       c. Evidence of the times the Device(s) was used;
       d. Records and information that constitute evidence concerning persons who either
          (i) collaborated, conspired, or assisted (knowingly or unknowingly) the
          commission of the criminal activity under investigation; or (ii) communicated
          with Ventura about matters relating to the criminal activity under investigation,
          including records that help reveal their whereabouts.
       e. Records and information relating to the location of Ventura Flores and/or any co-
          conspirators or elaborators;
       f. Records and information that constitute evidence of the state of mind of Ventura
          Flores and/or any co-conspirators or collaborators, e.g., intent, absence of mistake,
          or evidence indicating preparation or planning, or knowledge and experience,
          related to the criminal activity under investigation; and
Case 1:21-sw-00109-GMH Document 1 Filed 04/13/21 Page 7 of 24




 g. Any conversations, whether through text messages or other applications, which
    involves the discussion of the purchase or sale of controlled substances, drug
    trafficking proceeds and money laundering;
 h. Any photographs of controlled substances, of firearms and/or controlled substances
    and photographs of individuals possessing firearms and/or controlled substances
    and drug proceeds and photographs showing the association of individuals;
 i. Passwords, encryption keys, and other access devices that may be necessary to
    access the Device(s);
 j. Documentation and manuals that may be necessary to access the Device(s) or to
    conduct a forensic examination of the Device(s);
 k. Records of or information about Internet Protocol addresses used by the Device(s);
    and
 l. Records of or information about the Device(s)’s Internet activity, including
    firewall logs, caches, browser history and cookies, “bookmarked” or “favorite”
    web pages, search terms that the user entered into any Internet search engine, and
    records of user-typed web addresses.
         Case 1:21-sw-00109-GMH Document 1 Filed 04/13/21 Page 8 of 24




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 IN THE MATTER OF THE SEARCH OF

 A PINK AND WHITE APPLE IPHONE IN A Case NO.: 21-SW-108
 BLACK CASE THAT IS CURRENTLY IN
 CUSTODY OF THE DRUG ENFORCEMENT
 ADMINISTRATION WASHINGTON
 DIVISION OFFICE

 A SILVER 2004 CHRYSLER TOWN AND
 COUNTRY BEARING MARYLAND                             Case NO.: 21-SW-109
 LICENSE PLATE 4EG9203 AND VIN
 2C8GP54L84R603669 IN A SECURED
 PARKING GARAGE OF THE DRUG
 ENFORCEMENT ADMINISTRATION                           UNDER SEAL
 WASHINGTON DIVISION OFFICE


AFFIDAVIT IN SUPPORT OF APPLICATION UNDER RULE 41 FOR WARRANTS TO
                         SEARCH AND SEIZE

       I, John Eliff, Task Force Officer with the Drug Enforcement Administration (“DEA”),

Washington Division Office, Washington, D.C. (hereinafter “Affiant”), being duly sworn, depose

and state the following:

                                      INTRODUCTION

       1.      I make this affidavit in support of an application under Federal Rule of Criminal

Procedure 41 for search warrants authorizing the examination of property – (1) a digital device, a

pink and white Apple iPhone in a black case, further described in Attachment A-1, which is

currently in the custody of the Drug Enforcement Administration (“DEA”) Washington Division

Office (“Device”); and (2) a silver 2004 Chrysler Town and County bearing Maryland license plate

4EG9203, further described in Attachment A-2, which is currently in a secured parking garage of

the DEA Washington Division Office (“Vehicle”) – for the things described in Attachment B.
         Case 1:21-sw-00109-GMH Document 1 Filed 04/13/21 Page 9 of 24




       2.       Your Affiant is “an investigative or law enforcement officer” of the United States

within the meaning of Title 18, United States Code, Section 2510(7), that is, an officer of the

United States who is empowered by law to conduct investigations of and to make arrests for

offenses enumerated in Section 2516 of Title 18, United States Code. Your Affiant has been a

Police Officer with the Alexandria Police Department since July of 2007 and for the past seven

years has been assigned to the Vice/Narcotics Section as a Detective. On March 20, 2017, your

Affiant was federally deputized as a Task Force Officer (TFO) with the Drug Enforcement

Administration’s (“DEA”) Washington Division Office and is currently assigned to the High

Intensity Drug Trafficking Area (HIDTA) Northern Virginia Drug Initiative.

       3.       During your Affiant’s tenure as a law enforcement officer, your Affiant has

participated in the application for and execution of numerous State and Federal search warrants in

the investigation of narcotics and organized crime related offenses, resulting in the prosecution

and conviction of numerous individuals and the seizure of illegal drugs, drugs proceeds in the form

of bulk U.S. currency, weapons, and other evidence of criminal activity.            As a narcotics

investigator, your Affiant has interviewed many individuals involved in drug trafficking and has

obtained information from them regarding the acquisition, sale, importation, manufacture, and

distribution of controlled substances. Through your Affiant’s training and experience, he is

familiar with the methods used by traffickers of controlled substances and the nature and

appearance of illegal narcotics. Your Affiant has received extensive training in drug identification,

drug distribution methods, and drug enforcement techniques from various federal, state, and local

agencies, including the Northern Virginia Criminal Justice Academy, the Virginia Department of

Criminal Justice, the Drug Enforcement Administration, and the Federal Bureau of Investigation,

among others.




                                                 2
        Case 1:21-sw-00109-GMH Document 1 Filed 04/13/21 Page 10 of 24




      4.       All information in this affidavit is either personally known to your Affiant, has been

relayed to your Affiant by other law enforcement officers and/or confidential sources, or has been

relayed to your Affiant by records and documents gathered during this investigation, court-

authorized GPS location data, controlled purchases of illegal drugs, physical surveillance, and

other information gathered during the course of this investigation.         This affidavit contains

information necessary to support probable cause for the search warrants. It is not intended to

include each and every fact and matter observed by your Affiant or known to the government.

Your Affiant has set forth only the facts that your Affiant believes are necessary to establish

probable cause for the issuance of the search warrants requested herein.

      5.       On March 29, 2021 a federal grand jury in the District of Columbia returned an

indictment, charging Hernan Arquimedes Ventura Flores (“Ventura”) with four counts of

Unlawful Distribution of Cocaine, in violation of Title 21, United States Code, Sections 841(a)(1)

and 841(b)(1)(C) (“Subject Offenses”). The Honorable Robin M. Meriweather, Magistrate Judge

in the District of Columbia, signed a warrant for the defendant’s arrest based on that indictment.

      6.       Also on March 29, 2021, the Honorable Zia M. Faruqui, Magistrate Judge in the

District of Columbia, signed search warrants authorizing the search of three addresses and a

vehicle associated with Ventura.

      7.       On April 1, 2021, the defendant was arrested pursuant to the above warrant.

Ventura had the Device in his possession when arrested, in his back, rear pocket.

      8.       Also on April 1, 2021, a search warrant was executed at Ventura’s suspected

gambling house, 5208 4th Street NW, Washington, D.C. During the execution of the search, W-

1, a neighbor, approached a law enforcement officer standing outside 5208 4th Street NW and

identified the Vehicle parked on the street directly in front of the address as being used by




                                                 3
        Case 1:21-sw-00109-GMH Document 1 Filed 04/13/21 Page 11 of 24




Ventura. A controlled substance detection canine subsequently alerted by the Vehicle, and the

Vehicle was seized by law enforcement.

      9.      Based on my training and experience and the facts as set forth in this affidavit,

including the indictment charging the defendant with the Subject Offenses, your Affiant

respectfully submits that there is probable cause to believe that violations of 18 U.S.C.

§§ 841(a)(1) and 841(b)(1)(C) have been committed by Ventura Flores and other unidentified

individuals. There is also probable cause to search the Device and Vehicle, further described in

Attachments A-1 and A-2, for the things described in Attachment B.

                                     PROBABLE CAUSE

                               Background on the Investigation

      10.     This investigation commenced after a confidential source (“CS”) of the DEA, on

several occasions in 2019, provided information about the defendant, who the CS knew as

“Chele” or “Ernan,” selling ounce quantities of cocaine in Washington, D.C., including at a

gambling house that he operates. Between February 2020 and January 2021, over the course of

four controlled purchases, the defendant sold a total of approximately 252.67 grams of cocaine to

the CS for $10,800 in proceeds. Each of those transactions was audio-recorded. Following each

transaction, the substance purchased from the defendant for prerecorded funds was weighed,

field-tested positive for cocaine, and analyzed by the DEA Mid-Atlantic Laboratory.

      11.     Specifically, on February 27, 2020, the defendant sold the CS approximately 1

ounce of cocaine for $1,200. The DEA Laboratory identified the substance as cocaine

hydrochloride (“HCL”) with a net weight of 27.99 grams and a purity of 33%± 4%. Agents

conducted surveillance of the defendant and observed him driving a Nissan Altima bearing

Washington D.C. license plate GB4671 from the vicinity of 6609 Georgia Avenue NW, his




                                               4
         Case 1:21-sw-00109-GMH Document 1 Filed 04/13/21 Page 12 of 24




suspected residence, to 4027 13th Street NW, the building where his suspected stash house is

located (hereinafter “suspected stash house building”), where his transaction with the CS took

place.

         12.   On April 30, 2020, the defendant sold the CS approximately 2 ounces of cocaine

for $2,400. The DEA Laboratory identified the substance as cocaine HCL with a net weight of

56.40 grams and a purity of 26%± 3%. The defendant and the CS had initially agreed to meet at

5208 4th Street NW, the defendant’s suspected gambling house (hereinafter “gambling house”),

but that morning, the defendant changed their meeting place to the suspected stash house building

where the first controlled purchase had taken place. Agents observed the defendant leave his

residence and drive the Nissan Altima to the stash house building, from which he exited

approximately 20 minutes later. The defendant then drove the Nissan Altima to the suspected

gambling house. He was then surveilled returning to the vicinity of the suspected stash house

building, where the transaction occurred in CS’s vehicle.

         13.   On September 29, 2020, the defendant sold the CS approximately 2 ounces of

cocaine for $2,400. The DEA Laboratory identified the substance as cocaine HCL with a net

weight of 57.38 grams and a purity of 20%± 3%. The defendant and the CS agreed to meet at the

gambling house. Agents conducting surveillance observed the defendant parking the Nissan

Altima by the suspected stash house building, then driving the Nissan Altima to the suspected

gambling house, where the transaction took place in CS’s vehicle.

         14.   On January 28, 2021, the defendant sold the CS approximately 4 ounces of cocaine

for $4,800. The DEA Laboratory identified the substance as cocaine HCL with a net weight of

110.90 grams and a purity of 23%± 3.39%.            Agents conducting surveillance observed the

defendant driving the Nissan Altima from the vicinity of his suspected stash house building to his




                                                5
           Case 1:21-sw-00109-GMH Document 1 Filed 04/13/21 Page 13 of 24




residence, before heading to the suspected gambling house, where the transaction occurred in CS’s

vehicle.

      15.       Based on the above four controlled purchases, on March 29, 2021 a federal grand

jury in the District of Columbia returned an indictment charging Ventura with the Subject

Offenses.

      16.       On April 1, 2021, Ventura was arrested for the indicted charges. Ventura had

agreed to sell the CS approximately 14 ounces of cocaine for $17,000 in a transaction scheduled

for that date. That day, the defendant was surveilled by agents as he drove around in the Nissan

Altima and approached the back driveway of his suspected gambling house. Ventura was the sole

occupant of the vehicle. At the direction of law enforcement, Ventura exited his vehicle and was

immediately handcuffed and patted down, during which the Device was retrieved from his rear

pants pocket. The Device was placed into evidence shortly after Ventura’s arrest. The data is

therefore in the same condition as when it was seized.

      17.       Pursuant to a search warrant for the Nissan Altima, a black bag with multiple plastic

bags of cocaine weighing 396 grams (13.97 ounces) was recovered from the back seat passenger’s

area of the defendant’s vehicle and field-tested positive for cocaine:




                                                  6
        Case 1:21-sw-00109-GMH Document 1 Filed 04/13/21 Page 14 of 24




A green plastic bag containing 0.5 grams of suspected cocaine was also found under the driver’s

seat. In addition, agents recovered a different Apple iPhone from the front passenger’s seat area

and an LG flip phone from the front center console.

       18.     That same day, a search warrant was executed on Ventura’s suspected stash house

(4027 13th Street NW, Apartment 102, Washington, DC). Ventura was either seen going inside or

being in close proximity of the building on each of the controlled purchase dates. The building

was the meeting spot for the first two controlled purchases, and in the latter, the defendant was

witnessed using a key to enter the front, main door of the building. In addition, on December 17,

2020, the defendant was observed by an undercover officer entering the front door to the building

before utilizing a key to enter Apartment 102.

       19.     On April 1, 2021, no one was present at the time of the search of the suspected stash

house. Agents recovered plastic bags containing 89.5 grams of a substance that field-tested

positive for cocaine, as well as empty plastic bags and digital scales, which were each recovered

from a plastic bag in the bottom of a dresser. There were also hollow Coke cans in a USPS bag in

the bottom drawer of a dresser, and cutting agents and a blender on the floor. In addition, agents

recovered a Washington D.C. learner’s permit for a close associate of the defendant’s who resides

at this apartment; lawfully obtained records from T-Mobile from February 1, 2020 to October 26,

2020, showed that the defendant communicated with this individual approximately 89 times during

that time period.

       20.     A search warrant was additionally executed at the defendant’s suspected gambling

house (4027 13th Street NW, Washington, DC). The defendant had informed the CS in early 2020

that he had moved his gambling house here. The address also became the meeting spot for the

third and fourth controlled purchases, which took place in CS’s vehicle. The defendant had




                                                 7
         Case 1:21-sw-00109-GMH Document 1 Filed 04/13/21 Page 15 of 24




additionally been present and claimed to reside at this address, according to a July 2019

Metropolitan Police Department report that involved a response by officers to this location.

         21.   In the execution of the April 1, 2021, search warrant at the suspected gambling

house, agents recovered numerous plastic bags – containing 43.5 grams of a substance that field-

tested positive for cocaine – concealed in a Pepsi can. They also recovered four plastic bags –

containing 3.5 grams of a substance that field-tested positive for cocaine – found taped underneath

a card table. They additionally recovered two cell phones next to $3,550 in U.S. currency in small

bills.




                                                8
          Case 1:21-sw-00109-GMH Document 1 Filed 04/13/21 Page 16 of 24




         22.      In all, from the date of the arrest alone, from the Nissan Altima and two locations

associated with the defendant, agents recovered approximately 533 grams of substances that field-

tested positive for cocaine. The suspected cocaine seized on April 1, 2021, was submitted to the

DEA Mid-Atlantic Laboratory for storage and analysis. As of the writing of this Affidavit, the

results are still pending.

                                          Facts Specific to This Application

         23.      The Device, a pink and white Apple iPhone in a black case that is currently in the

custody of the DEA Washington Division Office in the District of Columbia, was recovered

directly from Ventura’s person as he was arrested.1 As noted above, the CS and Ventura had

made arrangements for Ventura to sell the CS 14 ounces of cocaine for $17,000 on that date.

Ventura had inside the vehicle he was driving a black bag containing that approximate amount of

suspected cocaine 396 grams (13.97 ounces), which field-tested positive for cocaine. Ventura

was also, at the time he was stopped and the Device was seized, approaching the back driveway

of his suspected gambling house; at that location, plastic bags containing a substance that field-


         1 Although a search of the Device arguably falls within the scope of the Search Warrant for the Nissan Altima
signed on March 29, 2021, your Affiant is seeking a separate search warrant authorizing search out of an abundance
of caution.


                                                          9
        Case 1:21-sw-00109-GMH Document 1 Filed 04/13/21 Page 17 of 24




tested positive for cocaine were found concealed in a Pepsi can, four plastic bags of a substance

that field-tested positive for cocaine were found taped underneath a card table, and there was

$3,550 of U.S. currency in small bills. Based upon those facts and the investigation detailed

above, there is probable cause to believe the Device is being used by Ventura in connection with

the Subject Offenses.

       24.     Your Affiant also knows that it is common for narcotics traffickers to have and

use multiple cellular telephones and to periodically use and obtain newly acquired cellular

phones or different telephone numbers. This is often done in an attempt to avoid detection and to

impede law enforcement detection. As noted, a different Apple iPhone was recovered from the

front passenger’s seat area of the vehicle, as well as an LG flip phone from the front center

console. Ventura was the sole occupant of the vehicle at the time of his arrest. There is probable

cause to believe that before his arrest, Ventura was in possession of multiple phones and utilizing

those phones, including the Device, to avoid detection and impede law enforcement.

       25.     There is probable cause to believe that the cellular phone on his person at the time

of arrest contains fruits, instrumentalities, and/or evidence of the Subject Offenses. I know that

when an individual uses a digital device to engage in unlawful distribution of controlled

substances, the individual’s device will generally serve both as an instrumentality for committing

the crime, and also as a storage medium for evidence of the crime. The digital device is an

instrumentality of the crime because it is used as a means of committing the criminal offense. The

digital device is also likely to be a storage medium for evidence of crime. From my training and

experience, I believe that a digital device used to commit a crime of this type may contain data

that is evidence of how the digital device was used; data that was sent or received; notes as to how

the criminal conduct was achieved; records of Internet discussions about the crime; and other




                                                10
        Case 1:21-sw-00109-GMH Document 1 Filed 04/13/21 Page 18 of 24




records that indicate the nature of the offense and the identities of those perpetrating it. There is

probable cause to believe that the cell phones contain attribution evidence, showing that Ventura

was the owner and user of the phones. Among other things, records of telephone calls, text

messages, emails, contact lists, calendars, and photographs can be used to identify the owner

and/or user of a mobile phone. There is probable cause to believe that the phone will contain

evidence of Ventura’s location, including the frequency of his visits to his suspected stash house

and suspected gambling house for drug transactions.

       26.     Your Affiant knows that individuals who are members of ongoing drug

organizations stay in regular contact with one another. Individuals who deal in the sale and

distribution of controlled substances commonly maintain telephone numbers for their associates

in their illegal organization. These individuals often utilize cellular telephones or social media to

maintain contact with their associates in their illegal businesses. This contact does not terminate

once an individual is incarcerated. Incarcerated members of drug organizations routinely send

letters to and receive letters from other members of the organization in which they discuss

ongoing criminal activities and request various forms of assistance, from financial help to help in

engaging in witness intimidation or elimination. In addition, incarcerated members often keep

photographs of themselves and other members of their organization in order to obtain respect

from other inmates. There is probable cause to believe that the phone will contain

communications that are evidence of violations of the Subject Offenses or of conspirators or

facilitators in Ventura’s commission of the Subject offenses.

       27.     Meanwhile, law enforcement took notice of the Vehicle, the 2004 Chrysler Town

and Country bearing Maryland License Plate 4EG9203, while executing the search warrant at

Ventura’s suspected gambling house. As noted, Ventura himself was arrested as he approached




                                                 11
        Case 1:21-sw-00109-GMH Document 1 Filed 04/13/21 Page 19 of 24




the back driveway of his suspected gambling house, and substances that field-tested positive for

cocaine were recovered from both the vehicle he was in and the suspected gambling house. As

law enforcement was searching the gambling house, W-1, a neighbor, approached a law

enforcement officer outside and explained that Ventura also uses the Vehicle which was parked

on the street directly in front of the gambling house.

       28.     Due to the possibility of illegal narcotics being present in the Vehicle, your

Affiant requested the assistance of Task Force Officer Patrick Briant, and his partner, a

Controlled Substance Detection Canine named Storm. TFO Briant informed your Affiant that

following a scan of the Vehicle, Storm alerted, indicating a positive presence of narcotic odors

emanating from the Vehicle. Due to the alert, the Vehicle was seized by law enforcement and

transported to a secured parking lot in the District of Columbia of the DEA Washington Division

Office pending the issuance of a search warrant.

       29.     TFO Briant and his canine partner Storm were trained by the United States

Customs and Border Protection Canine Program and have received basic training in the detection

of odors of Cocaine and its derivatives, Marijuana and its derivatives, Heroin and its derivatives,

Methamphetamine and its derivatives, and Ecstasy. TFO Briant and Storm were certified on

December 12, 2018 by the United States Customs and Border Protection Canine Program as a

controlled substance detection canine team and their certification was renewed on October 16,

2020, and remains current. As a result of this training, the canine Storm has been certified as

reliable in the detection of odors of Cocaine and its derivatives, Marijuana and its derivatives,

Heroin and its derivatives, Methamphetamine and its derivatives, and Ecstasy. On November

21, 2019, TFO Briant and Storm were certified by the North America Police Working Dog

Association as a Narcotic Detection Team. As a result of this training, the canine has been




                                                 12
        Case 1:21-sw-00109-GMH Document 1 Filed 04/13/21 Page 20 of 24




certified as reliable in the detection of odors of Marijuana, Cocaine, Heroin, and

Methamphetamine. TFO Briant has worked exclusively with Storm since October 2018 and is

familiar with the trained responses of the canine with odors of Cocaine and its derivatives,

Marijuana and its derivatives, Heroin and its derivatives, Methamphetamine and its derivatives,

and Ecstasy.

       30.     During the execution of the search warrant at the gambling house, W-2 was

present and informed your Affiant that he resided there but claimed to have no knowledge that

illegal activity was taking place. W-2 stated that he has a lot of friends who come over often but

he does not know what they do while they are there.

       31.     At the conclusion of the search warrant, your Affiant provided W-2 with a copy

of the search warrant that listed what was being seized. Additionally, your Affiant informed W-

2 that the Vehicle, which was parked outside, was being seized pursuant to the positive alert and

asked who had the keys to the vehicle. W-2 provided your Affiant with the key which was

located in his pants pocket. W-2 also informed your Affiant that the Vehicle belonged to a friend

of his who allowed him to use it to drive his friend’s home when they have had too much to

drink. W-2 denied ownership of the Vehicle.

       32.     Your Affiant conducted an inquiry with the Maryland Department of Motor

Vehicles in an attempt to identify the registered owner of the Vehicle. The results of the inquiry

listed the registered owner as W-3 with a listed address in Riverdale, Maryland.

       33.     On April 6, 2021, your Affiant was contacted by an individual who identified

herself as W-3. W-3 stated that she could not locate her vehicle and wanted to report it stolen.

Your Affiant explained that the Vehicle had been seized by the DEA pursuant to a positive alert

by a narcotic canine. W-3 informed your Affiant that she was the owner of the Vehicle and had




                                                13
        Case 1:21-sw-00109-GMH Document 1 Filed 04/13/21 Page 21 of 24




been given permission by the owner of the gambling house to leave the Vehicle there while she

worked. W-3 stated she left the keys to the Vehicle with the brother of the owner of the

gambling house. W-3 further stated she did not give anyone permission to use or operate the

Vehicle.

       34.      On April 8, 2021, your Affiant was contacted by an attorney who stated that he

represented W-2 and inquired about the status of the Vehicle. Your Affiant explained that the

Vehicle had been seized pending a search warrant. Your Affiant informed the attorney that he

had spoken with the registered owner who had also inquired about the Vehicle. The attorney

replied that it was his belief that W-2 was the owner of the vehicle and had the signed title

proving his ownership. The attorney was unsure why W-2 would deny ownership of the Vehicle

when W-2 had the signed title proving he was the owner.

       35.      Based upon the above facts and the investigation detailed above, including W-1’s

statements, the canine alert, and the evidence of the Subject Offenses found in the suspected

gambling house and Nissan Altima by the back driveway of the gambling house, there is

probable cause to believe the Vehicle is being used by Ventura in connection with the Subject

Offenses. There is also probable cause to believe that evidence, fruits, and instrumentalities of

the Subject Offenses may be found in the Vehicle:

             a. Based on your Affiant’s training, experience and participation in narcotics

                investigations, and the training and experience of other Agents and Detectives

                with whom your Affiant is working closely in this investigation, your Affiant

                knows that individuals who deal in illegal controlled substances keep such

                controlled substances, as well as paraphernalia, in their residences and/or

                curtilage, vehicles, and in other business locations. Individuals who traffic in




                                                 14
Case 1:21-sw-00109-GMH Document 1 Filed 04/13/21 Page 22 of 24




     illegal controlled substances over an extended period of time continuously

     maintain an inventory of illegal controlled substances. In addition, such

     individuals maintain books, records, receipts, notes, ledgers, bank records, money

     orders, and other papers relating to the importation, manufacture, transportation,

     ordering, sale and distribution of illegal controlled substances. These books,

     records, receipts, notes, ledgers, bank records, money orders, etc., are maintained

     in locations to which drug traffickers have ready access, such as in secure

     locations within their residences and their curtilage, in business locations with

     which the traffickers are associated, or vehicles.

  b. Your Affiant knows that individuals who deal in illegal controlled substances

     routinely conceal in their residences and/or curtilage, vehicles, or in other

     business locations large quantities of currency, financial instruments, and other

     items of value, typically proceeds of illegal controlled substance transactions.

     Individuals who purchase and sell large amounts of illegal controlled substances

     often maintain a significant amount of narcotics proceeds in their homes. These

     individuals maintain cash, rather than depositing that money into a bank or other

     financial institution, in an attempt to avoid detection by law enforcement or by

     institutions that report to law enforcement. Further, these individuals also secrete

     drug proceeds in their vehicles in an attempt to avoid detection by law

     enforcement and other persons. Proceeds of illegal drug trafficking are

     maintained for long periods, including for many years.

  c. Your Affiant knows that persons who traffic in controlled substances maintain

     documents, letters and records relating to their illegal activities for long periods,




                                       15
Case 1:21-sw-00109-GMH Document 1 Filed 04/13/21 Page 23 of 24




     i.e., months and years. This documentary evidence is usually secreted in their

     place of residence, or the residences of family members, friends or associates, in

     their business locations, or in the places of operation of their drug distribution

     activities, such as stash houses or safe houses, or in storage areas. This

     documentary evidence includes, but is not limited to, evidence of money

     laundering, records of drug trafficking proceeds, telephone numbers, telephone

     books, address books, credit card and hotel receipts, airplane and bus tickets and

     receipts, car rental receipts, amounts and records in fictitious names, false

     identification, money orders, cashier’s checks relating to cash transactions, and

     records indicating the existence of storage facilities used in narcotics trafficking.

  d. Your Affiant knows that drug traffickers will often store firearms near their illegal

     narcotics in their residences and/or curtilage, vehicles, and in other business

     locations to protect the enterprise from other traffickers, robbers and law

     enforcement. Drug traffickers who own or possess firearms and ammunition, also

     keep other firearms related equipment, to include ammunition magazines,

     holsters, bullet proof vests, pistol grips, boxes, cleaning kits and paperwork

     relating to the acquisition an disposition of firearms. Drug traffickers keep

     firearms, ammunition and their accessories secreted for extended periods. Lastly,

     drug traffickers do not usually carry their entire inventory of ammunition or

     equipment while carrying their firearms on their person or in a vehicle, but will

     keep their available ammunition and magazines in their residence for future use.




                                       16
           Case 1:21-sw-00109-GMH Document 1 Filed 04/13/21 Page 24 of 24




                                          CONCLUSION

       I submit that this affidavit supports probable cause for a warrant to search the items

described in Attachment A and to seize the items described in Attachment B.

       Because the Device and Vehicle are already in DEA custody, there exists reasonable

cause to permit the execution of the requested warrants at any time in the day or night.

                                      Respectfully submitted,

       .

                                      ____________________________________________
                                      Task Force Officer John Eliff
                                      Drug Enforcement Administration


   Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on April 13th, 2021.


______________________________________________
G. MICHAEL HARVEY
UNITED STATES MAGISTRATE JUDGE




                                                17
